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16

17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION
20                                      )         Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
      META PLATFORMS, INC., a Delaware  )         PLAINTIFFS’ NOTICE OF MOTION
22    corporation,                      )         AND MOTION TO STRIKE THE
                                        )         SECOND SUPPLEMENTAL REBUTTAL
23                    Plaintiffs,       )         EXPERT REPORT OF GREGORY A.
                                        )         PINSONNEAULT
24
             v.                         )
25                                      )           Date: February 13, 2025
      NSO GROUP TECHNOLOGIES LIMITED )              Time: 2:00 p.m.
26    and Q CYBER TECHNOLOGIES LIMITED, )           Ctrm: 3
                                        )           Judge: Hon. Phyllis J. Hamilton
27                    Defendants.       )           Action Filed: October 29, 2019
                                        )
28
                                   PUBLIC REDACTED VERSION
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 1     NOTICE OF MOTION AND MOTION TO STRIKE THE SECOND SUPPLEMENTAL
 2                     EXPERT REPORT OF GREGORY A. PINSONNEAULT
 3          PLEASE TAKE NOTICE THAT, on February 13, 2025 at 2:00 pm in Courtroom 3 of the
 4   U.S. District Court for the Northern District of California, Plaintiffs WhatsApp LLC and Meta Plat-
 5   forms, Inc. (“Plaintiffs”) will and hereby do move to strike the Second Supplemental Rebuttal Expert
 6   Report of Gregory A. Pinsonneault served by Defendants NSO Group Technologies Ltd. and Q Cyber
 7   Technologies Ltd. (“NSO”). This Motion is based upon this Notice of Motion and Motion, the ac-
 8   companying Memorandum of Points and Authorities, the Declaration of Luca Marzorati and all ex-
 9   hibits thereto, the pleadings and papers on file in this action, and on such other written and oral
10   argument as may be presented to the Court.
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2           On November 27, 2024, seven days after Plaintiffs deposed NSO’s damages expert Gregory
 3   A. Pinsonneault, NSO served a “second supplemental rebuttal report” from Mr. Pinsonneault. 1 That
 4   report seeks to reverse a tactical decision that NSO and its expert made in Mr. Pinsonneault’s Rule
 5   26 disclosures. Specifically,
 6

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 8                                               Mr. Pinsonneault admitted all of this at his November 20,
 9   2024 deposition, which proceeded as part of a carefully negotiated schedule. One week later, NSO
10   sought to broaden Mr. Pinsonneault’s opinions through this “second supplemental rebuttal report.”
11           Mr. Pinsonneault’s “second supplemental rebuttal report” is improper and should be stricken.
12   NSO served the report weeks after the deadlines for rebuttal reports in the Court-ordered case sched-
13   ule and the Federal Rules of Civil Procedure. The Ninth Circuit has recognized that supplementation
14   under Rule 26(e) means correcting inaccuracies, or filling the interstices of an incomplete report
15   based on information that was not available at the time of the initial disclosure. It does not create a
16   loophole for a party to revise disclosures in light of an opponent’s challenge or add to them for the
17   proponent’s advantage. Luke v. Fam. Care & Urgent Med. Clinics, 323 F. App’x 496, 500 (9th Cir.
18   2009). Despite this clear rule, Mr. Pinsonneault’s “second supplemental rebuttal report” does not
19   rely on information that was unavailable to NSO when Mr. Pinsonneault drafted and served his earlier
20   reports. To the contrary, it offers opinions and analyses that he expressly contemplated in his earlier
21   reports but elected to omit. This gamesmanship is forbidden. Moreover, NSO prejudiced Plaintiffs
22   by serving the “second supplemental rebuttal report” after Mr. Pinsonneault’s deposition. NSO
23   therefore cannot meet its burden to show that these late disclosures are “substantially justified” or
24   “harmless” and the “second supplemental rebuttal report” should be stricken.
25

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     1
          NSO served a rebuttal report from Mr. Pinsonneault on September 21, 2024 (the “September 21
27        Pinsonneault Report”) and a supplemental rebuttal report from Mr. Pinsonneault on November
          8, 2024 (the “November 8 Pinsonneault Report”).
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 1                                             BACKGROUND
 2          A. Procedural History of Expert Discovery Deadlines
 3          Under this Court’s February 15, 2024 and July 31, 2024 Orders, the deadline to serve affirm-
 4   ative expert disclosures was August 30, 2024, the deadline to serve rebuttal expert disclosures was
 5   September 21, 2024, and the close of expert discovery was October 25, 2024. Dkt. No. 292 at 7;
 6   Dkt. No. 357 at 5. On October 25, 2024, the parties filed a stipulation and proposed order to extend
 7   the expert discovery cutoff to December 16, 2024. Dkt. No. 450. The stipulation states, in relevant
 8   part, that “due to the schedules of experts and the Parties’ counsel, the Parties agree that additional
 9   time is required to complete expert discovery.” Id. at 2. At the November 7, 2024 hearing, Plaintiffs’
10   counsel raised the stipulation with the Court and stated that
11

12                  Marzorati Decl., Ex. A (Nov. 7, 2024 Hr’g Tr.) at 94:25–95:5. NSO’s counsel raised
13   no objection to this characterization. The following day, this Court entered the proposed order. Dkt.
14   No. 462 at 6. Neither the parties’ stipulation nor the Court’s November 8 Order addressed or modi-
15   fied the August 30, 2024 deadline to serve affirmative expert disclosures or the September 21, 2024
16   deadline to serve rebuttal expert disclosures.
17          B. Plaintiffs Serve Damages Expert Reports
18          On August 30, 2024, Plaintiffs served the affirmative expert report of their damages expert,
19   Dana Trexler (the “Trexler Report”). Marzorati Decl. ¶ 4. At that time, NSO had not finished pro-
20   ducing documents and deponents, and did not produce its corporate representative witness on dam-
21   ages issues until a week later, on September 6, 2024. Id. ¶¶ 4–5. Because of this, the Trexler Report
22   stated that
23

24                                                                   Dkt. No. 487-3 ¶ 7. The Trexler Report
25   also stated that it did not incorporate any analysis of a spreadsheet
26

27                                                                    Dkt. No. 487-3 ¶ 8 n.5; see Dkt. No.
28
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 1   487-4. Plaintiffs and their expert were unable to fully understand that spreadsheet until NSO pro-
 2   duced Ms. Gil to testify about it on September 6, 2024. Marzorati Decl. ¶ 3.
 3          On September 21, 2024, Plaintiffs served a supplemental expert report from Dana Trexler
 4   (the “Trexler Supplemental Report”).
 5

 6                                                                                    Dkt. No. 487-6. In the
 7   Trexler Supplemental Report, Ms. Trexler wrote that the
 8

 9                                                                       Id. ¶ 6. The Trexler Supplemental
10   Report opined that NSO’s profits subject to disgorgement were between                    and
11        Id. ¶ 8.
12          C. NSO Serves Damages Expert Reports
13          Also on September 21, 2024, NSO served a report from its damages expert, Gregory A. Pin-
14   sonneault. See Dkt. No. 487-5. The September 21 Pinsonneault Report contained Mr. Pinsonneault’s
15   rebuttal opinions in response to Ms. Trexler’s August 31 Report.
16                                                                            Id. ¶¶ 92–93. However,
17

18                                Id. ¶ 97. Mr. Pinsonneault described
19                                                                              Id.
20

21                   Id. ¶ 127.
22          On November 8, 2024, Mr. Pinsonneault filed another expert report. See Marzorati Decl.,
23   Ex. B (November 8 Pinsonneault Report). In the November 8 Pinsonneault Report,
24

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26                                              Id. ¶¶ 6–24. Mr. Pinsonneault again elected
27

28                                                                                             Id. ¶¶ 13–14.
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STRIKE THE SECOND SUPPLEMENTAL EXPERT REPORT OF GREGORY
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 1                                                                                                    Id.
 2   ¶ 24.
 3           D. Plaintiffs Depose Mr. Pinsonneault
 4           Plaintiffs deposed Mr. Pinsonneault on November 20, 2024. During the deposition, Mr. Pin-
 5   sonneault reiterated his opinion that
 6                                                                                      Marzorati Decl.,
 7   Ex. C (Pinsonneault Dep. Tr.) at 157:10–17; see also id. at 160:18–23
 8

 9

10                                    Mr. Pinsonneault then further confirmed that he expected that
11                                                                                                    Id.
12   at 13:5–11.
13                                                                                Id. at 13:12–25, 15:6–
14   15:14, 16:15–24.
15           E. NSO Serves Another Expert Report from Mr. Pinsonneault
16           On November 27, 2024, one week after his deposition, NSO purported to serve a third expert
17   report from Mr. Pinsonneault. Marzorati Decl., Ex. D (November 27 Pinsonneault Report). The
18   November 27 Pinsonneault Report is 57 pages and provides opinions that NSO and Mr. Pinsonneault
19   had elected to exclude from Mr. Pinsonneault’s earlier disclosures. These opinions included
20

21                                                                                                    Id.
22   ¶ 6. The November 27 Pinsonneault Report cites nothing that was unavailable to NSO and Mr.
23   Pinsonneault at the time of his November 8 Pinsonneault Report.
24           On December 2, 2024, Plaintiffs’ counsel informed NSO’s counsel that Plaintiffs planned to
25   move to strike the November 27 Pinsonneault Report. Marzorati Decl. ¶ 11. The parties met-and-
26   conferred, but were unable to resolve their dispute. Id. ¶ 12.
27

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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STRIKE THE SECOND SUPPLEMENTAL EXPERT REPORT OF GREGORY
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 1                                          LEGAL STANDARD
 2          Expert reports must be submitted “at the times and in the sequence that the court orders.”
 3   Fed. R. Civ. P. 26(a)(2)(D). Absent a stipulation or Court order, expert disclosures “intended solely
 4   to contradict or rebut evidence on the same subject matter identified by another party under Rule
 5   26(a)(2)(B) or (C)” must be served “within 30 days after the other party’s disclosure.” Fed. R. Civ.
 6   P. 26(a)(2)(D)(ii). Experts can only further supplement or correct their report if they later “learn[]
 7   that in some material respect the disclosure or response is incomplete or incorrect.” Fed. R. Civ. P.
 8   26(e)(1)(A). An expert’s “duty to supplement extends both to information included in the report and
 9   to information given during the expert’s deposition. Any additions or changes to this information
10   must be disclosed by the time the party’s pretrial disclosures under Rule 26(a)(3) are due.” Fed. R.
11   Civ. P. 26(e)(2). A party is precluded from using expert reports that are not disclosed in a timely
12   manner, unless the failure to comply with the Court-ordered deadlines was “substantially justified”
13   or “harmless.” Fed. R. Civ. P. 37(c)(1).
14                                              ARGUMENT
15          NSO served the November 27 Pinsonneault Report two months after the Court-ordered dead-
16   line for rebuttal expert reports, and two months after the submission of the expert report that it pur-
17   ported to respond to. Though NSO argues that the November 27 Pinsonneault Report’s untimeliness
18   can be excused because it is a “supplemental” report, it did not incorporate any new or emergent
19   evidence—it merely reverses a tactical decision NSO’s expert made about the applicable period for
20   damages, which was highlighted during Mr. Pinsonneault’s deposition. NSO cannot meet its burden
21   to justify this deliberately untimely report. And forcing Plaintiffs to depose Mr. Pinsonneault again
22   would add significant obligations to an already compressed pretrial period and reward NSO for their
23   disregard of the Court’s Orders and the Federal Rules of Civil Procedure.
24   I.     The November 27 Report Is Untimely
25          Affirmative expert reports were due in this case on August 30, 2024 and rebuttal expert re-
26   ports were due on September 21, 2024. Dkt. No. 357 at 5. The November 27 Pinsonneault Report
27   came more than two months after the deadline for rebuttal expert reports and more than two months
28   after the Trexler Supplemental Report. It is untimely on its face.
                                                        5
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 1          Mr. Pinsonneault frames the November 27 Pinsonneault Report as a rebuttal to the Trexler
 2   Supplemental Report, which Plaintiffs served on September 21, 2024. 2 That does nothing to cure its
 3   untimeliness. Absent a stipulation or a court order, expert disclosures “intended solely to contradict
 4   or rebut evidence on the same subject matter identified by another party under Rule 26(a)(2)(B) or
 5   (C)” must be served “within 30 days after the other party’s disclosure.”            Fed. R. Civ. P.
 6   26(a)(2)(D)(ii). Here, NSO served the November 27 Pinsonneault Report 67 days after the Trexler
 7   Supplemental Report. Moreover, it came weeks after NSO and Mr. Pinsonneault had already served
 8   a rebuttal to the Trexler Supplemental Report on November 8. Marzorati Decl., Ex. B (November 8
 9   Pinsonneault Report) ¶ 2
10                                                                                  .3
11           The parties’ agreement to extend the expert discovery period from October 25, 2024 to De-
12   cember 16, 2024, Dkt. No. 462 at 8, does not make the November 27 Pinsonneault Report
13   timely. Neither the stipulation nor the Court’s order addresses or alters the deadlines for expert
14   reports—deadlines which had already passed when the stipulation was filed. Moreover, the preamble
15   to the Order confirms that the parties’ purpose in proposing it was to obtain additional time to com-
16   plete expert depositions (not because of any need for additional reports). See Dkt. No. 462 at 3
17   (“[T]he Parties have met and conferred to discuss the scheduling of expert depositions, and due to
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19

20   2
         The Trexler Supplemental Report relies heavily on the testimony of Ms. Gil, NSO’s corporate
21       witness on damages issues, which took place after affirmative expert reports were due. The
         Trexler Supplemental Report was therefore a proper supplemental report under Rule 26(e), and
22       NSO made no objection to the Trexler Supplemental Report’s timeliness when served on Sep-
         tember 21, 2024. See Marzorati Decl. ¶ 6. NSO had ample time thereafter, and provided Mr.
23       Pinsonneault’s rebuttal on November 8, 2024. Id. ¶ 8. Only after Plaintiffs raised the issue of
         the untimeliness of the November 27 Pinsonneault Report did NSO first raise any concern about
24       the timeliness of the Trexler Supplemental Report. Id. ¶ 12. NSO thereafter moved to strike the
         Trexler Supplemental Report. Dkt. No. 487-2. Plaintiffs intend to oppose that motion, and will
25       further respond in that context.
     3
         Although the November 8 Pinsonneault Report came outside of the 30-day rebuttal deadline un-
26       der Rule 26, Plaintiffs did not object to its timeliness because it addressed the Trexler Supple-
         mental Report and did so reasonably in advance of Mr. Pinsonneault’s deposition and well before
27       the close of expert discovery. Plaintiffs’ accommodation does not entitle Mr. Pinsonneault to file
         yet another rebuttal report, weeks later and after his deposition.
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                                                        6
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STRIKE THE SECOND SUPPLEMENTAL EXPERT REPORT OF GREGORY
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 1   the schedules of experts and the Parties’ counsel, the Parties agree that additional time is required to
 2   complete expert discovery.”).
 3   II.    The November 27 Pinsonneault Report Impermissibly Exceeds the Scope of
 4          Supplementation
 5          Because NSO served the November 27 Pinsonneault Report long after any potentially appli-
 6   cable rebuttal deadline, it can only be deemed timely if it is a proper supplemental report under Rule
 7   26(e)(1)(A). But the November 27 Pinsonneault Report is not proper under this standard either.
 8   “Supplementing an expert report pursuant to Rule 26(e) means ‘correcting inaccuracies, or filling the
 9   interstices of an incomplete report based on information that was not available at the time of the
10   initial disclosure.’” Gerawan Farming, Inc. v. Rehrig Pacific Co., 2013 WL 1982797, at *5 (E.D.
11   Cal. May 13, 2013) (quoting Keener v. United States, 181 F.R.D. 639, 640 (D. Mont. 1998)).
12          The November 27 Pinsonneault Report does not correct any inaccuracies in any of Mr. Pin-
13   sonneault’s previous reports, nor does it rely on any information that was not available on November
14   8, when NSO served Mr. Pinsonneault’s first supplemental rebuttal report. The only conceivably
15   relevant event that occurred between November 8 and November 27 was Mr. Pinsonneault’s deposi-
16   tion, during which he admitted under oath
17

18                                     See Dkt. No. 465 at 4–5; see also Marzorati Decl., Ex. C (Pinson-
19   neault Dep. Tr.) at 13:12–25, 15:6–15:14, 16:15–24.
20          Instead of complying with the narrow purpose of Rule 26 supplementation, NSO is seeking
21   to use the November 27 Pinsonneault Report to add new opinions that NSO and Mr. Pinsonneault
22   elected to omit from his Rule 26 disclosures. Rule 26(e) does not “create a loophole through which
23   a party who submits partial expert witness disclosures, or who wishes to revise her disclosures in
24   light of her opponent’s challenges to the analysis and conclusions therein, can add to them to her
25   advantage after the court’s deadline for doing so has passed.” Luke, 323 F. App’x at 500; see also
26   Rovid v. Graco Children’s Prods. Inc., 2018 WL 5906075, at *11 (N.D. Cal. Nov. 9, 2018) (submit-
27   ting a supplemental report to respond to defendants’ criticisms, so there could be no question of its
28   completeness, accuracy, or reliability is not the proper use of Rule 26(e)); Shenon v. New York Life
                                                        7
     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STRIKE THE SECOND SUPPLEMENTAL EXPERT REPORT OF GREGORY
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 1   Ins. Co., 2020 WL 1317722, at *10 (C.D. Cal. Mar. 16, 2020) (“[S]upplements are only for the nar-
 2   row purpose of correcting inaccuracies or adding information that was not available at the time of
 3   the initial report’ [and should not be used] ‘to correct failures of omissions because the expert did an
 4   inadequate or incomplete preparation, add new opinion, or deepen or strengthen existing opinions.’”
 5   (quoting In re Asbestos Prod. Liab. Litig. (No. VI), 289 F.R.D. 424, 425 (E.D. Pa. 2013))).
 6          In the September 21 Pinsonneault Report and the November 8 Pinsonneault Report,
 7

 8

 9

10                                       See Marzorati Decl., Ex. B (November 8 Pinsonneault Report) ¶
11   13
12

13                          NSO and Mr. Pinsonneault’s decision to restrict his opinions
14                                                             reflects a conscious decision that NSO must
15   live with and cannot leverage Rule 26(e) to reverse. See Luke, 323 F. App’x at 500.
16          Mr. Pinsonnneault’s purported reservation of rights in the November 8 Pinsonneault Report
17   does not change the applicable Rules and does not render the November 27 Pinsonneault Report
18   compliant. In the November 8 Pinsonneault Report, Mr. Pinsonneault states,
19

20

21                                                                         Marzorati Decl., Ex. B (Novem-
22   ber 8 Pinsonneault Report) ¶ 24. This re-confirms that Mr. Pinsonneault
23                                                                                        In any event, Mr.
24   Pinsonneault’s reservation of rights does not excuse him from complying with the rules. A reserva-
25   tion of rights is a “common escape hatch that many retained experts include in their reports” which
26   “does not trump the Federal Rules of Civil Procedure.” Agnew v. Cater, 2022 WL 313756, at *2 n.3
27   (N.D. Ill. Feb. 2, 2022) (describing expert report filed after applicable deadline); see also Hubbs v.
28   Big Lots Stores, Inc., 2019 WL 12536593, at *5 (C.D. Cal. July 2, 2019) (“Defendants’ effort to
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 1   reserve the right to designate a rebuttal expert until a later date is a form of self-help in seeking to
 2   change deadlines.”). NSO and its expert should not be permitted to supplement expert opinions on
 3   their own schedule, whether or not they purported to “reserve rights” to do so.
 4   III.   NSO’s Failure To Comply With The Court’s Deadlines Was Not Justified or Harmless
 5          NSO cannot meet its burden of showing that its failure to comply with the Court-ordered
 6   deadlines for expert reports was “substantially justified” or “harmless.” Fed. R. Civ. P. 37(c)(1); see
 7   Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1107 (9th Cir. 2001) (“Implicit in Rule
 8   37(c)(1) is that the burden is on the party facing sanctions to prove harmlessness.”). “Among the
 9   factors that may properly guide a district court in determining whether a violation of a discovery
10   deadline is justified or harmless are: (1) prejudice or surprise to the party against whom the evidence
11   is offered; (2) the ability of that party to cure the prejudice; (3) the likelihood of disruption of the
12   trial; and (4) bad faith or willfulness involved in not timely disclosing the evidence.” Lanard Toys
13   Ltd. v. Novelty, Inc., 375 F. App’x 705, 713 (9th Cir. 2010). Here, these factors favor striking the
14   November 27 Pinsonneault Report.
15          NSO served the November 27 Pinsonneault Report long after the parties had served all other
16   expert reports and one week after Mr. Pinsonneault’s own deposition. Marzorati Decl. ¶¶ 9–10.
17   Although several days remained in the period for which the Court had extended discovery, that period
18   was already crowded with other expert depositions and obligations (in this case and others). Partic-
19   ularly after Plaintiffs had already gone through the time and expense of analyzing Mr. Pinsonneault’s
20   two previous reports and conducting his deposition, forcing them to re-do that process in light of his
21   unjustified “second supplemental rebuttal report” would have unreasonably burdened Plaintiffs,
22   while preparing for trial and nearing the deadlines for Daubert motions and other pretrial exchanges
23   and filings. Therefore, the November 27 Pinsonneault Report should be stricken.
24          Under Rule 37(c), the default sanction for a party’s failure to “provide information or identify
25   a witness as required by Rule 26(a) or (e)” is that “the party is not allowed to use that information or
26   witness to supply evidence on a motion, at a hearing, or at a trial.” Fed. R. Civ. P. 37(c)(1). That is
27   the default remedy in the Ninth Circuit, and the proper remedy here. See Yeti by Molly, 259 F.3d at
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     PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STRIKE THE SECOND SUPPLEMENTAL EXPERT REPORT OF GREGORY
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 1   1107 (excluding expert report even though party “never violated an explicit court order” and “even
 2   absent a showing in the record of bad faith or willfulness”).
 3           In addition, the Court should order NSO to pay Plaintiffs’ attorneys’ fees and costs associated
 4   with moving to strike the report. Fed. R. Civ. P. 37(c)(1)(A) (in addition to exclusion, the Court may
 5   “order payment of the reasonable expenses, including attorney’s fees, caused by the failure”); Fed.
 6   R. Civ. P. 37(c)(1)(c) (allowing Court to “impose other appropriate sanctions”); see, e.g., Genentech,
 7   Inc. v. Insmed Inc., 2006 WL 648365, at *1 (N.D. Cal. Mar. 13, 2006) (awarding reasonable fees and
 8   costs incurred by plaintiffs in bringing motion to exclude untimely expert report); Marcus v. Air &
 9   Liquid Sys. Corp., 2024 WL 2882562, at *4 (N.D. Cal. June 7, 2024) (ordering the payment of rea-
10   sonable expenses, including attorney’s fees, caused by an untimely and noncompliant expert report);
11   Bixby v. KBR, Inc., 282 F.R.D. 521, 532 (D. Or. 2011) (“all those fees and costs reasonably incurred
12   by defendants in consequence of plaintiffs’ untimely proffer of the November report shall be paid by
13   plaintiffs”).
14   IV.     In the Alternative, Plaintiffs Should Be Permitted to Depose Mr. Pinsonneault Again
15           at a Time of Plaintiffs’ Choosing, and at NSO’s Expense
16           If the Court permits the November 27 Pinsonneault Report to stand, Plaintiffs should be per-
17   mitted to depose Mr. Pinsonneault again, at a time of Plaintiffs’ choosing, before trial. The Court
18   should also order NSO to pay Plaintiffs’ attorneys’ fees and costs associated with the supplemental
19   deposition, as well as this motion. See Fed. R. Civ. P. 37(c); see also Ruiz v. Walmart, 2021 WL
20   4796960, at *9 (C.D. Cal. Apr. 27, 2021) (late disclosing party offered to pay for deposition costs
21   and expert fees to help cure any prejudice).
22                                             CONCLUSION
23           For the foregoing reasons, Plaintiffs respectfully request that the Court strike the November
24   27 Report of Gregory A. Pinsonneault.
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      Dated: December 19, 2024                    Respectfully Submitted,
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